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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
       v.                                 : CASE NO. 21 CR. 35 (EGS)
                                          :
RONALD COLTON MCABEE,                     :
    Defendant.                            :
                                          ORDER

       This matter came before the Court on the government’s motion for review of a decision

by U.S. Magistrate Judge Jeffrey S. Frensley, U.S. District Court for the Middle District of

Tennessee, to release Defendant Ronald Colton McAbee pending trial and for a stay of

Defendant McAbee’s release pending a hearing on the motion for review of the release order.

Upon consideration of that motion, it is by the Court this _____ day of September, 2021

       ORDERED, that a hearing on the government’s motion is set for the _____ day of

       ____________________ 2021 at ______ a.m./p.m.; and it is further

       ORDERED, that the order releasing Defendant McAbee shall be stayed pending a ruling

on the government’s motion and Defendant McAbee shall be held without bond until the Court

has issued that ruling.


                                           THE HONORABLE EMMET G. SULLIVAN
                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA




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